     Case 2:25-cv-00228       Document 1        Filed 04/08/25   Page 1 of 13 PageID #: 1




                   IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

CLEAN & CLEAR ADVANTAGE LLC,

               Plaintiff,

v.                                                         Civil Action No. 2:25-cv-00228
                                                           Judge ________________________
WEST VIRGINIA DEPARTMENT OF
HEALTH; SHERRI YOUNG, D.O., in her
individual capacity and her official capacity as
Cabinet Secretary for the West Virginia
Department of Health; WEST VIRGINIA
OFFICE OF HEALTH FACILITY
LICENSURE & CERTIFICATION; and
CHRISTOPHER G. NELSON, in his individual
capacity and his official capacity as Interim
Director of the West Virginia Office of Health
Facility Licensure & Certification,

               Defendants.

                                           COMPLAINT

        Clean & Clear Advantage LLC states and alleges the following for its complaint against

Defendants.

                                          INTRODUCTION

        1.     Clean & Clear Advantage LLC (“Clean & Clear”) operates an addiction treatment

facility in Parkersburg, West Virginia.

        2.     Clean & Clear’s services are sadly in high demand in West Virginia because of the

addiction epidemic that has plagued the State for some time.

        3.     To meet that demand, Clean & Clear acquired plans and drawings to increase the

capacity of its facility from 75 to 300 treatment beds.

        4.     In February 2022, Clean & Clear received Defendants’ approval to begin construc-

tion.
   Case 2:25-cv-00228          Document 1        Filed 04/08/25         Page 2 of 13 PageID #: 2




       5.      Clean & Clear spent substantial sums on construction activity.

       6.      But before Clean & Clear could complete construction and file for an amended

license to add additional treatment beds, the Legislature passed a new law, W. Va. Code § 16-2D-

9(5) (eff. Mar. 8, 2023), capping the total number of addiction treatment beds in a given county at

250.

       7.      Defendants rejected Clean & Clear’s attempt to amend its license, and in support,

cited solely the recently passed Section 16-2D-9(5).

       8.      Section 16-2D-9(5) changed the previous law, and provided that any addiction

treatment facility in a county with 250 beds in a county must obtain a certificate of need, but that

no certificate shall be issued to a facility providing such services.

       9.      In other words, the Legislature has decreed that the State will deny health care to

individuals with a certified need for care solely because they suffer from addiction.

       10.     Addiction is a qualifying disability protected from discrimination under federal law.

       11.     Section 16-2D-9(5) facially violates the Equal Protection Clause of the Fourteenth

Amendment, the Americans with Disabilities Act, and the Rehabilitation Act.

       12.     Moreover, on information and belief, Section 16-2D-9(5) was passed and applied

to specifically prevent Clean & Clear from pursuing its construction and expansion, which along

with the additional conduct of behalf of Defendant detailed herein, violates 42 U.S.C. § 1983.

       13.     Through this complaint, Clean & Clear seeks declaratory and injunctive relief in-

validating Section 16-2D-9(5), and enjoining its enforcement against it.

       14.     Clean & Clear also seeks money damages it has suffered because of Defendants’

discriminatory and unlawful conduct.




                                                  2
   Case 2:25-cv-00228         Document 1        Filed 04/08/25      Page 3 of 13 PageID #: 3




                                             PARTIES

        15.     Clean & Clear is a West Virginia limited liability company with its principal office

in Parkersburg, West Virginia.

        16.     The West Virginia Department of Health (“DOH”) is a newly created state agency

as part of the Legislature’s decision to split the former Department of Health & Human Resources

into three separate agencies. See W. Va. Code § 5F-2-1a(c)(1).

        17.     At all relevant times, Dr. Sherri Young was the Cabinet Secretary of DOH (the

“Secretary”) and is named in her individual and official capacities.

        18.     The West Virginia Office of Health Facility Licensure & Certification

(“OHFLAC”) is a sub-agency or board of the DOH. See W. Va. Code § 5F-2-1a(c)(1)(F)(i).

        19.     At all relevant times, Christopher G. Nelson was the Interim Director of OHFLAC

(the “Director”) and is named in his individual and official capacities.

                                 JURISDICTION AND VENUE

        20.     This court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

because the claims arise under the Constitution and statutes of the United States.

        21.     Venue in this court is proper under 28 U.S.C. § 1391(b) because Defendants reside

in this District, and because a substantial part of the events or omissions giving rise to this claim

occurred in this District.

        22.     Clean & Clear has complied with the pre-suit notification provisions set forth in

West Virginia Code § 55-17-3(a).

        23.     To the extent that the State of West Virginia is responsible for any monetary judg-

ment in this matter, recovery is sought up to the liability limits of any applicable insurance policy.




                                                  3
   Case 2:25-cv-00228            Document 1       Filed 04/08/25      Page 4 of 13 PageID #: 4




                                                FACTS

     Regulatory framework for increasing bed capacity at addiction treatment centers

          24.     In West Virginia, addiction treatment facilities are characterized as “behavioral

health centers” providing “behavioral health services” subject to regulation under W. Va. C.S.R. §

64-11-1 et seq.

          25.     DOH and the Secretary have ultimate licensing and enforcement authority over be-

havioral health centers in West Virginia. See W. Va. Code § 27-9-1; see also W. Va. C.S.R. § 64-

11-2.4.

          26.     OHFLAC and the Director also have licensing and enforcement authority over be-

havioral health centers in West Virginia, as designated by DOH and the Secretary. See W. Va.

C.S.R. § 64-11-2.4.

          27.     Of relevance here, a provider must obtain an amended license to increase the bed

capacity of an addiction treatment center. See W. Va. C.S.R. § 64-11-4.2.3.

          28.     However, before beginning construction to increase bed capacity, a provider must

first submit construction drawings and specifications to Defendants for approval to proceed. See

W. Va. C.S.R. § 64-11-4.5.

          29.     Importantly, this preliminary approval is separate from the licensure amendment

application.

          30.     Only after such construction is complete can the provider apply for and receive an

amended license to increase bed capacity. See W. Va. C.S.R. § 64-11-4.1.5, -4.1.6.

          31.     Thus, to increase bed capacity of an addiction treatment center, a provider must first

obtain Defendants’ approval to proceed with construction. The provider cannot begin construction

without Defendants’ preliminary affirmative approval. Then, after completing construction, a pro-

vider submits an amended license application to Defendants. Finally, Defendants inspect the


                                                    4
   Case 2:25-cv-00228          Document 1        Filed 04/08/25       Page 5 of 13 PageID #: 5




facility for compliance with applicable regulations and, assuming the facility passes muster, issues

the amended license to operate.

        32.     The foregoing procedure — construction only after preliminary approval, and li-

censure amendment application only after construction is complete — is how Defendants admin-

ister the behavioral health center licensure amendment process.

                Addiction treatment centers and certificate of need exemption

        33.     West Virginia has tragically suffered an addiction epidemic for many years.

        34.     Recognizing the tremendous need for treatment, the Legislature in 2016 exempted

behavioral health centers — i.e. addiction treatment providers — from the State’s certificate of

need process. See W. Va. Code § 16-2D-11(21) (eff. June 10, 2016).

        35.     The certificate of need process can significantly delay the creation and provision of

health care services because it requires regulatory approval before such services may be provided

in the State.

        36.     However, in 2023, the Legislature reversed course and, using the certificate of need

process, placed substantial numeric and geographic restrictions on addiction treatment providers.

        37.     Specifically, the first 250 addiction treatment beds in a county remain exempt from

the certificate of need process because “the Legislature finds that a need exists.” W. Va. Code §

16-2D-11(b)(19).

        38.     But once a county reaches 250 addiction treatment beds, a certificate of need is

required to add more beds, but the Legislature has decreed that no certificate will be issued. See

W. Va. Code § 16-2D-9(5) (eff. Mar. 8, 2023).

        39.     Specifically, Section 16-2D-9(5) provides that “[n]otwithstanding [that the Legis-

lature finds that a need exists for addiction treatment], these health services require a certificate of

need but the authority may not issue a certificate of need to: . . . Add licensed substance abuse


                                                   5
   Case 2:25-cv-00228          Document 1       Filed 04/08/25      Page 6 of 13 PageID #: 6




treatment beds in any county which already has greater than 250 licensed substance abuse treat-

ment beds.” Id.

 Clean & Clear makes substantial investment upon Defendants’ approval, but Defendants
       ultimately deny the amended license application under new certificate of need law

       40.     Clean & Clear is a provider of addiction treatment services.

       41.     Clean & Clear operates an addiction treatment center in Parkersburg, West Virginia.

       42.     In February 2022, Clean & Clear received Defendants’ approval to engage in a sig-

nificant construction project to expand the capacity of its facility from 75 to 300 total beds to meet

the demand for its critical services.

       43.     Relying on Defendants’ approval, Clean & Clear has spent substantial sums of time,

money, and resources to build out its facility to accommodate 300 beds in compliance with appli-

cable law and pursuant to Defendants’ authorization.

       44.     However, in the interim, the Legislature amended state law to cap the number of

addiction treatment beds per county, as described above.

       45.     In fact, on information and belief, the Legislature enacted that statute specifically

to stop Clean & Clear from expanding. For example, and without limitation:

   x   Local political figures, including without limitation members of the Parkersburg City

       Council, expressed their opposition to Clean & Clear’s expansion;

   x   The lead sponsor of House Bill 3337 (the bill which was eventually passed that imposed

       the aforementioned bed restrictions) was West Virginia House of Delegates member Scot

       Heckert of Wood County, WV. Each of the remaining four Delegates representing Wood

       County (Bill Anderson; Bob Ferenbacher; Vernon Criss, and Dave Foggin) were co-spon-

       sors of the HB 3337;




                                                  6
   Case 2:25-cv-00228          Document 1       Filed 04/08/25     Page 7 of 13 PageID #: 7




   x   The original version of HB 3337 included the following language: “The purpose of this bill

       is to prohibit additional drug and alcohol treatment facilities and service in a certain

       county.” Id. (emphasis added); and,

   x   Clean & Clear is the largest facility of its kind located in Wood County, WV, and on infor-

       mation and belief, the only such facility engaging in expansion in Wood County, WV, at

       the relevant time.

       46.       Almost immediately after the statutory cap went into effect, Clean & Clear con-

tacted Defendants for clarification of whether the cap would apply to it, notwithstanding Defend-

ants’ express approval to proceed with construction and expand to 300 beds.

       47.       Defendants refused to provide Clean & Clear with an answer.

       48.       On August 11, 2023, Clean & Clear applied for an amended license to operate ad-

ditional beds.

       49.       On October 12, 2023, Clean & Clear received Defendants’ denial of that application

by letter dated August 28, 2023.

       50.       The only reason Defendants gave for denying Clean & Clear’s application was the

aforementioned new cap on substance abuse treatment beds.

       51.       Clean & Clear pursued Defendants’ administrative appeal process to its completion,

and an administrative law judge ultimately affirmed Defendants’ denial of licensure amendment.

                        Clean & Clear has standing to bring these claims

       52.       To the extent necessary, Clean & Clear has exhausted its administrative remedies

to receive an amended license from Defendants.




                                                 7
   Case 2:25-cv-00228         Document 1        Filed 04/08/25      Page 8 of 13 PageID #: 8




         53.   Clean & Clear has standing to seek redress for its own injuries, and third-party

standing based on the injuries to the individuals it serves. See, Md. Shall Issue, Inc. v. Hogan, 971

F.3d 199, 214–15 (4th Cir. 2020) (discussing third-party standing).

                                     CAUSES OF ACTION

   COUNT I — VIOLATION OF THE FOURTEENTH AMENDMENT OF THE
                  UNITED STATES CONSTITUTION

         54.   Clean & Clear incorporates the foregoing paragraphs herein.

         55.   The Fourteenth Amendment’s Equal Protection Clause provides that “[n]o State

shall . . . deny to any person within its jurisdiction the equal protection of the laws.” U.S. Const.

amend. XIV, § 1.

         56.   To state an Equal Protection claim, a plaintiff must allege (1) “that he has been

treated differently from others with whom he is similarly situated and that the unequal treatment

was the result of intentional or purposeful discrimination” and (2) “that the disparity was not jus-

tified under the appropriate level of scrutiny.” Fauconier v. Clark, 966 F.3d 265, 277 (4th Cir.

2020).

         57.   “Classifications involving individuals with disabilities are subject only to rational

basis scrutiny.” Doe v. Univ. of Md. Med. Sys. Corp., 50 F.3d 1261, 1267 (4th Cir. 1995).

         58.   Section 16-2D-9(5) facially and intentionally discriminates against individuals suf-

fering from addiction in a manner that cannot be justified on any rational basis.

         59.   Defendants discriminated against Clean & Clear and the individuals it serves when

it applied Section 16-2D-9(5) to deny Clean & Clear’s expansion of services.

         60.   As a direct and proximate result of the foregoing violations of the Equal Protection

Clause, Clean & Clear has suffered damages including, but not limited to, lost profits, lost business

opportunity, aggravation and inconvenience, and attorneys’ fees and costs.



                                                 8
   Case 2:25-cv-00228          Document 1         Filed 04/08/25      Page 9 of 13 PageID #: 9




              COUNT II — VIOLATION OF THE REHABILITATION ACT

        61.     Clean & Clear incorporates the foregoing paragraphs herein.

        62.     The Rehabilitation Act provides that “[n]o otherwise qualified individual with a

disability . . . shall, solely by reason of her or his disability, be excluded from the participation in,

be denied the benefits of, or be subjected to discrimination under any program or activity receiving

Federal financial assistance.” 29 U.S.C. § 794(a).

        63.     Section 16-2D-9(5) facially and intentionally targets Clean & Clear and and the

individuals it serves solely by reason of the individuals’ disability to exclude them from participa-

tion in, deny them the benefits of, and subject them to discrimination under programs or activities

receiving federal funds.

        64.     Defendants discriminated against Clean & Clear and the individuals it serves solely

by reason of the individuals’ disability when it applied Section 16-2D-9(5) to deny Clean & Clear’s

expansion of services.

        65.     As a direct and proximate result of the foregoing violations of the Rehabilitation

Act, Clean & Clear has suffered damages including, but not limited to, lost profits, lost business

opportunity, aggravation and inconvenience, and attorneys’ fees and costs.

 COUNT III — VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

        66.     Clean & Clear incorporates the foregoing paragraphs herein.

        67.     The Americans with Disabilities Act provides that “no qualified individual with a

disability shall, by reason of such disability, be excluded from participation in or be denied the

benefits of the services, programs, or activities of a public entity, or be subjected to discrimination

by any such entity.” 42 U.S.C. § 12132.

        68.     Section 16-2D-9(5) facially and intentionally discriminates against individuals suf-

fering from addiction.


                                                   9
  Case 2:25-cv-00228          Document 1        Filed 04/08/25      Page 10 of 13 PageID #: 10




        69.     Defendants discriminated against Clean & Clear and the individuals it serves when

it applied Section 16-2D-9(5) to deny Clean & Clear’s expansion of services.

        70.     As a direct and proximate result of the foregoing violations of the Americans with

Disabilities Act, Clean & Clear has suffered damages including, but not limited to, lost profits, lost

business opportunity, aggravation and inconvenience, and attorneys’ fees and costs.

                     COUNT IV — VIOLATION OF 42 U.S.C. § 1983

        71.     Clean & Clear incorporates the foregoing paragraphs herein.

        72.     42 U.S.C. § 1983 provides that “[e]very person who, under color of any statute,

ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia, sub-

jects, or causes to be subjected, any citizen of the United States or other person within the juris-

diction thereof to the deprivation of any rights, privileges, or immunities secured by the Constitu-

tion and laws, shall be liable to the party injured in an action at law, suit in equity, or other proper

proceeding for redress.”

        73.     Moreover, as described above and on information and belief, Section 16-2D-9(5)

was enacted and applied specifically to stop Clean & Clear’s construction and expansion of its

facility.

        74.     The foregoing constitutional and statutory violations by Defendants violate 42

U.S.C § 1983.

        75.     As a direct and proximate result of the foregoing violations, Clean & Clear has

suffered damages including, but not limited to, lost profits, lost business opportunity, aggravation

and inconvenience, and attorneys’ fees and costs.

                      DECLARATORY AND INJUNCTIVE RELIEF

        76.     Clean & Clear incorporates the foregoing paragraphs herein.

        77.     Clean & Clear is entitled to a declaration as follows:


                                                  10
  Case 2:25-cv-00228         Document 1       Filed 04/08/25   Page 11 of 13 PageID #: 11




              a.      That West Virginia Code § 16-2D-9(5) facially violates the Equal Protection

                      Clause of the Fourteenth Amendment;

              b.      That West Virginia Code § 16-2D-9(5) facially violates the Rehabilitation

                      Act;

              c.      That West Virginia Code § 16-2D-9(5) facially violates the Americans with

                      Disabilities Act;

              d.      That Defendants violated the Equal Protection Clause of the Fourteenth

                      Amendment when they applied West Virginia Code § 16-2D-9(5) to deny

                      Clean & Clear’s amended permit;

              e.      That Defendants violated the Rehabilitation Act when they applied West

                      Virginia Code § 16-2D-9(5) to deny Clean & Clear’s amended permit; and

              f.      That Defendants violated the Americans with Disabilities Act when they

                      applied West Virginia Code § 16-2D-9(5) to deny Clean & Clear’s amended

                      permit; and,

              g.      That the Defendants’ conduct violates 42 U.S.C § 1983.

       78.    Clean & Clear is entitled to an order enjoining the enforcement or application of

West Virginia Code § 16-2D-9(5) against it.

       79.    Clean & Clear is also entitled to an order enjoining and/or requiring Defendants to

consider an amended license application submitted by it for the expanded capacity and operations

under the construction plans approved by Defendants.

    PULLMAN ABSTENTION AND ENGLAND RESERVATION OF CLAIMS

       80.    Clean & Clear incorporates the foregoing paragraphs herein.

       81.    Clean & Clear has filed a complaint in West Virginia State Circuit Court seeking

declaratory and injunctive relief. See, Clean & Clear Advantage LLC v. West Virginia Department


                                                11
  Case 2:25-cv-00228          Document 1        Filed 04/08/25      Page 12 of 13 PageID #: 12




of Health and West Virginia Office of Health Facility Licensure & Certification, Civil Action No.

CC-20-2025-C-457 (Circuit Court of Kanawha County, West Virginia) (copy of state court com-

plaint attached hereto).

       82.     In support of its state court complaint, Clear & Clear asserts, in part, as follows:

   x   The bed restriction passed by the West Virginia Legislature does not apply to Clean &

       Clear, as it applied for an amended license rather than a certificate of need (see, id. ¶ ¶ 55-

       59);

   x   The certificate of need restriction does not apply to Clean & Clear because it was provided

       an exemption pursuant to West Virginia Code §16-2D-11(see, id. ¶ ¶ 60-62);

   x   W. Va. Code §16-2D-9 cannot be retroactively applied to Clean & Clear, because the Leg-

       islature did not indicate that the statute was to be applied retroactively (see, id. ¶ ¶ 63-67);

   x   W. Va. Code §16-2D-9 is unconstitutionally vague and unenforceable, as (for example) the

       code section does not include a definition of “substance abuse treatment” (see, id. ¶ ¶ 68-

       71); and,

   x   Clean & Clear has a vested right to continue with the bed expansion at its facility (see, id.

       ¶ ¶ 72-80).

       83.     Accordingly, Clean & Clear will seek a stay of the current action pursuant to the

Pullman abstention doctrine, because its state law claims (including without limitation its vested

rights claim) is perhaps an unclear area of state law, and because this federal action raises consti-

tutional issues that might be avoided by a favorable judgment in state court. See, Railroad Com-

mission v. Pullman Co., 312 U.S. 496 (1941).

       84.     In support, Clean & Clear further invokes what is referred to as the England proce-

dure, in that it reserves the foregoing claims to this Court and further reserves the right to return to



                                                  12
  Case 2:25-cv-00228        Document 1        Filed 04/08/25        Page 13 of 13 PageID #: 13




this Court should it not prevail in state court. See, England v. Medical Examiners, 375 U.S. 411

(1964); see also, Nivens v. Gilchrist, 444 F.3d 237, 245–46 (4th Cir. 2006).

       WHEREFORE, Clean & Clear respectfully requests the following relief against the De-

fendants:

               a.     Declaratory relief as stated herein;

               b.     Injunctive relief as stated herein;

               c.     Consequential damages;

               d.     Lost profits and lost business opportunity;

               e.     Aggravation and inconvenience;

               f.     Attorney fees and costs; and

               g.     Any other relief to which Clean & Clear may seek or be entitled to under
                      law or equity.


 CLEAN & CLEAR SEEKS A JUDICIAL DETERMINATION FROM THIS COURT AS
 TO ITS REQUEST FOR DECLARATORY AND INJUNCTIVE RELIEF, AND A JURY
    TRIAL AS TO THE AMOUNT OF MONETARY DAMAGES TO WHICH IT IS
                             ENTITLED

                                                      CLEAN & CLEAR ADVANTAGE LLC,

                                                      By counsel,

                                                      /s/ Sean W. Cook

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                                                13
